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 7                              UNITED STATES DISTRICT COURT
 8                          CENTRAL DISTRICT OF CALIFORNIA
 9                                    SOUTHERN DIVISION
10
                                                  )
11
      BRIAN WHITAKER,                             )     Case No.: SACV 19-02288-CJC(JDEx)
                                                  )
12                                                )
                   Plaintiff,                     )
13                                                )
            v.                                    )     ORDER DECLINING TO EXERCISE
14                                                )     SUPPLEMENTAL JURISDICTION
                                                  )     OVER PLAINTIFF’S UNRUH ACT
15
      PQ NEWPORT BEACH BAKERY,                    )     CLAIM
                                                  )
16    INC., a Delaware Corporation; and           )
      DOES 1 to 10,                               )
17                                                )
                                                  )
18                 Defendants.                    )
                                                  )
19                                                )
20

21    I. INTRODUCTION & BACKGROUND
22

23          On November 26, 2019, Plaintiff Brian Whitaker filed this action against
24    Defendant PQ Newport Beach Bakery, Inc., alleging violations of the Americans with
25    Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“Unruh Act”). (Dkt.
26    1 [Complaint, hereinafter “Compl.”].) Plaintiff alleges that he visited a Le Pain
27    Quotidien store that Defendant owns in November 2019 “with the intention to avail
28    himself of its goods, motivated in part to determine if the defendants comply with the

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 1    disability access laws.” (Id. ¶ 8.) He alleges that he found that the location “failed to
 2    provide accessible dining surfaces.” (Id. ¶ 10.) He asserts that the failure to provide
 3    accessible dining surfaces and sales counters violates the ADA and the Unruh Act. (Id.
 4    ¶¶ 25, 28.) Plaintiff seeks injunctive relief under the ADA and statutory damages under
 5    the Unruh Act. (Id. at 6–7.) He contends that this Court has federal question jurisdiction
 6    over his ADA claim and supplemental jurisdiction over his Unruh Act claim. (Id. ¶¶ 5–6;
 7    see generally Dkt. 10.)
 8

 9          Before the Court is Plaintiff’s response to this Court’s order to show cause as to
10    why it should not decline to exercise supplemental jurisdiction over Plaintiff’s Unruh Act
11    claim and other state law claims (Dkt. 8). (Dkt. 10.) For the following reasons, this
12    Court declines to exercise supplemental jurisdiction over Plaintiff’s Unruh Act claim.
13

14    II. DISCUSSION
15

16          A.     Supplemental Jurisdiction
17

18          In an action over which a district court possesses original jurisdiction, that court
19    “shall have supplemental jurisdiction over all other claims that are so related to claims in
20    the action within such original jurisdiction that they form part of the same case or
21    controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).
22    However, supplemental jurisdiction “is a doctrine of discretion, not of plaintiff’s right.”
23    United Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966). District courts have discretion
24    to decline to exercise supplemental jurisdiction if: “(1) the claim raises a novel or
25    complex issue of State law, (2) the claim substantially predominates over the claim or
26    claims over which the district court has original jurisdiction, (3) the district court has
27    dismissed all claims over which it has original jurisdiction, or (4) in exceptional
28    circumstances, there are other compelling reasons for declining jurisdiction.” 28 U.S.C.

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 1    § 1367(c). “In order to decide whether to exercise jurisdiction over pendent state law
 2    claims, a district court should consider . . . at every stage of the litigation, the values of
 3    judicial economy, convenience, fairness, and comity.” Nishimoto v. Federman-Bachrach
 4    & Assocs., 903 F.2d 709, 715 (9th Cir. 1990) (internal quotation omitted).
 5

 6          District courts may decline to exercise jurisdiction over supplemental state law
 7    claims based on various factors, including “the circumstances of the particular case, the
 8    nature of the state law claims, the character of the governing state law, and the
 9    relationship between the state and federal claims.” City of Chicago v. Int’l Coll. of
10    Surgeons, 522 U.S. 156, 173 (1997). The Ninth Circuit does not require an “explanation
11    for a district court’s reasons [for declining supplemental jurisdiction] when the district
12    court acts under” 28 U.S.C. §§ 1367(c)(1)–(3), San Pedro Hotel Co. v. City of Los
13    Angeles, 159 F.3d 470, 478 (9th Cir. 1998), but does require a district court to “articulate
14    why the circumstances of the case are exceptional in addition to inquiring whether the
15    balance of the Gibbs values provide compelling reasons for declining jurisdiction in such
16    circumstances.” Exec. Software N. Am. Inc. v. U.S. Dist. Court for the Cent. Dist. of Cal.,
17    24 F.3d 1545, 1558 (9th Cir. 1994), overruled on other grounds by Cal. Dep’t of Water
18    Res. v. Powerex Corp., 533 F.3d 1087 (9th Cir. 2008). This “inquiry is not particularly
19    burdensome.” Id.
20

21          B.     ADA and Unruh Act Claims
22

23          The ADA prohibits discrimination “on the basis of disability in the full and equal
24    enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
25    any place of public accommodation by any person who owns, leases (or leases to), or
26    operates a place of public accommodation.” 42 U.S.C. § 12182(a). Under the ADA,
27    “damages are not recoverable . . . only injunctive relief is available.” Wander v. Kaus,
28    304 F.3d 856, 858 (9th Cir. 2002).

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 2           The Unruh Act provides: “[a]ll persons within the jurisdiction of [California] are
 3    free and equal, and no matter what their . . . disability . . . are entitled to the full and equal
 4    accommodations, advantages, facilities, privileges, or services in all business
 5    establishments of every kind whatsoever.” Cal. Civ. Code § 51(b). The Unruh Act also
 6    provides that a violation of the ADA constitutes a violation of § 51 of the Unruh Act. See
 7    Cal. Civ. Code § 51(f). Though the Unruh Act also permits injunctive relief, unlike the
 8    ADA, it also allows for recovery of monetary damages. A plaintiff may recover actual
 9    damages for each offense “up to a maximum of three times the amount of actual damage
10    but in no case less than four thousand dollars.” Cal. Civ. Code § 52(a). “The litigant
11    need not prove she suffered actual damages to recover the independent statutory damages
12    of $4,000.” Molski v. M.J. Cable, Inc., 481 F.3d 724, 731 (9th Cir. 2007).
13

14           C.     The Court Declines to Exercise Supplemental Jurisdiction Over
15                  Plaintiff’s Unruh Act Claim
16

17           The Court finds that this case presents “exceptional circumstances” and that “there
18    are compelling reasons,” primarily based on comity, for declining jurisdiction over
19    Plaintiff’s Unruh Act claim. 28 U.S.C. § 1367(c)(4). California’s recent legislative
20    enactments confirm that the state has a substantial interest in this case. In 2012,
21    California adopted heightened pleading requirements for Unruh Act accessibility claims
22    “in an attempt to deter baseless claims and vexatious litigation.” See Velez v. Il Fornaio
23    (Am.) Corp., 2018 WL 6446169, at *6 (S.D. Cal. Dec. 10, 2018). When these heightened
24    pleading requirements did not substantially reduce vexatious filings, California enacted
25    additional restrictions in 2015. See Cal. Civ. Proc. Code § 425.50. These restrictions
26    specifically targeted “high frequency litigants,” i.e., plaintiffs and attorneys who file
27    more than ten construction-related accessibility violation complaints during a twelve-
28    month period. See Cal. Civ. Proc. Code § 425.55(b)(1).

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 2           After the 2015 reforms, high frequency litigants must comply with the following
 3    requirements in California state court: the complaint must allege (1) “whether it is filed
 4    by or on behalf of a high-frequency litigator; (2) the number of complaints alleging a
 5    construction related accessibility claim that were filed by the high frequency litigator in
 6    the past twelve months; (3) the reason the high frequency litigator was in the region of
 7    the defendant’s business; and (4) the specific reason that the high frequency litigator
 8    desired access to the defendant’s business.” See Johnson v. Morning Star Merced, LLC,
 9    2018 WL 4444961, at *5 (E.D. Cal. Sept. 14, 2018) (citing Cal. Civ. Proc. Code
10    § 425.50(a)(4)(A)). High frequency litigants are also required to pay an additional
11    $1,000 filing fee. Cal. Gov’t. Code § 70616.5. The California Legislature’s justification
12    for imposing these burdens on high frequency litigants provides as follows:
13

14
                   According to information from the California Commission on
                   Disability Access, more than one-half, or 54 percent, of all
15                 construction-related accessibility complaints filed between 2012
16
                   and 2014 were filed by two law firms. Forty-six percent of all
                   [construction-related accessibility] complaints were filed by a
17                 total of 14 parties. Therefore, a very small number of plaintiffs
18
                   have filed a disproportionately large number of the construction-
                   related accessibility claims in the state, from 70 to 300 lawsuits
19                 each year. Moreover, these lawsuits are frequently filed against
20
                   small businesses on the basis of boilerplate complaints,
                   apparently seeking quick cash settlements rather than correction
21                 of the accessibility violation. This practice unfairly taints the
22                 reputation of other innocent disabled consumers who are merely
                   trying to go about their daily lives accessing public
23                 accommodations as they are entitled to have full and equal access
24                 under the state’s Unruh Civil Rights Act (Section 51 of the Civil
                   Code) and the federal Americans with Disability Act of 1990
25                 (Public Law 101-336).
26

27    Cal. Civ. Proc. Code § 425.55(a)(2).
28


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 1           Plaintiff, who filed over 100 cases during the first six months of 2019 alone, easily
 2    qualifies as a high frequency litigant and would be subjected to California’s heightened
 3    pleading requirements and increased filing fee were he to litigate in state court. (See Dkt.
 4    10-1 ¶ 4.) However, unlike the Unruh Act’s statutory damages provision, California’s
 5    pleading restrictions are procedural and do not apply in federal court. See Erie R.R. Co.
 6    v. Tompkins, 304 U.S. 64 (1938). This enables high-frequency litigants like Plaintiff to
 7    duck the burdens of state law but still reap its benefits by filing ADA and Unruh Act
 8    claims together in federal court and invoking 28 U.S.C. § 1367(a). This type of
 9    gamesmanship significantly undermines California’s efforts to reform Unruh Act
10    litigation.
11

12           Unfortunately, there is considerable evidence that this has already occurred.
13    According to statistics gathered by the Central District’s Clerk’s Office, in 2013, ADA
14    claims made up just three percent of the civil cases filed the Central District. Since
15    California’s heightened pleading requirements took effect, that number has increased
16    steadily. Indeed, in the first six months of 2019, ADA cases made up twenty-four percent
17    of the Central District’s civil caseload. Consistent with the 2015 findings of the
18    California legislature, the Clerk’s Office found that this uptick in filings was driven by
19    high-frequency litigants. Eighty-four percent of Central District ADA claims filed from
20    January 1, 2019 to June 30, 2019 were by Plaintiffs who would qualify as high-frequency
21    litigants under Cal. Civ. Proc. Code § 425.55(b)(1). The only explanation for the
22    phenomenon is the strategic evasion of California’s new reforms.
23

24           This trend of construction-related-accessibility-claim litigants, especially high
25    frequency litigants like Plaintiff, flocking to federal court threatens to nullify California’s
26    efforts to protect its small businesses from such claims. The Court finds that this
27    situation presents “exceptional circumstances” and “compelling reasons” for it to decline
28    to exercise supplemental jurisdiction over Plaintiff’s Unruh Act claim under 28 U.S.C.

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 1    § 1367(c)(4). This holding is in line with the growing number of federal courts in
 2    California that have declined to exercise supplemental jurisdiction over similar claims.
 3    See, e.g., Langer v. Deddeh, 2019 WL 4918084, at *2 (S.D. Cal. Oct. 4, 2019) (declining
 4    to exercise supplemental jurisdiction because the Unruh Act claim predominates over the
 5    ADA claim and the interests of comity and discouraging forum shopping constitute
 6    exceptional circumstances); Theroux v. Oceanside Motel-9, LP, 2019 WL 4599934, at *2
 7    (S.D. Cal. Sept. 20, 2019) (similar); Langer v. Petras, 2019 WL 3459107, at *2 (S.D.
 8    Cal. July 31, 2019) (similar); Spikes v. All Pro Auto Repair, Inc., 2019 WL 4039664, at
 9    *2 (S.D. Cal. Aug. 26, 2019) (dismissing for these reasons various state law claims
10    including claims for violation of the Unruh Act, California Health and Safety Code
11    Section 19955, negligence per se, and negligence); Rutherford v. Ara Lebanese Grill,
12    2019 WL 1057919, at *5 (S.D. Cal. Mar. 6, 2019) (finding that “it would be improper to
13    allow Plaintiff to use the federal court system as a loophole to evade California’s
14    pleading requirements”); see also Org. for Advancement of Minorities with Disabilities v.
15    Brick Oven Rest., 406 F. Supp. 2d 1120, 1131 (S.D. Cal. 2005) (declining to exercise
16    supplemental jurisdiction over an Unruh Act claim after finding that “discouraging
17    forum-shopping is a legitimate goal for the federal courts”). Plaintiff’s citation to
18    Johnson, 2018 WL 4444961, does not persuade the Court to change this decision. (Dkt.
19    10 at 12–13.)
20

21          The Court declines to exercise supplemental jurisdiction over Plaintiff’s California
22    Unruh Act claim as a matter of comity. The comity interest comes up in at least two
23    ways. First, California has established a detailed statutory scheme regarding
24    construction-related accessibility complaints, and it deserves to be able to enforce that
25    scheme. See Schutza v. Cuddeback, 262 F. Supp. 3d 1025, 1031 (S.D. Cal. 2017).
26    Second, significant forum-shopping considerations here implicate comity considerations.
27    See id.; Brick Oven Rest., 406 F. Supp. 2d at 1131. Combining an ADA claim with an
28    Unruh Act claim does not increase the range of remedies available to a plaintiff. The

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 1    ADA’s only remedy is injunctive relief, which is equally available under the Unruh Act.
 2    Because the statutes are co-extensive in this respect, “[i]t is unclear what advantage—
 3    other than avoiding state-imposed pleading requirements—Plaintiff gains by being in
 4    federal court.” See Schutza, 262 F. Supp. 3d at 1031; Brick Oven Rest., 406 F. Supp. 2d
 5    at 1131. Filing these cases in federal court “deprive[s] the California state courts of the
 6    ability to interpret and settle unsettled issues of state law.” Brick Oven Rest., 406 F.
 7    Supp. 2d at 1132.
 8

 9          The Court also finds that whatever inefficiencies may arise from Plaintiff litigating
10    his claims in two separate forums are slight in comparison to California’s weighty
11    interest in ensuring its laws are not circumvented, and in enforcing the detailed statutory
12    regime it has set up for construction-related accessibility claims.
13

14          D.     The Court Declines to Stay This Case Pending Arroyo v. Rosas or
15                 Certify it for Interlocutory Appeal
16

17          Plaintiff asks, if the Court declines jurisdiction over the state law claims, that the
18    Court stay this case pending the resolution of the appeal filed in Arroyo v. Rosas, 9th Cir.
19    Case No. 19-55974. (Dkt. 10 at 16.) The Court declines to do so. It would not be
20    efficient or otherwise in the interests of justice for this Court to wait to proceed in this
21    case pending the Ninth Circuit’s resolution of that case. See Landis v. N. Am. Co., 299
22    U.S. 248, 254 (1936).
23

24          The Court also declines to certify this matter for interlocutory appeal pursuant to
25    28 U.S.C. § 1292. (See Dkt. 10 at 16–18.) To determine whether leave to appeal should
26    be granted, district courts consider whether the issue presents “a controlling question of
27    law as to which there is substantial ground for difference of opinion and that an
28    immediate appeal from the order may materially advance the ultimate termination of the

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 1    litigation.” 28 U.S.C. § 1292(b). Plaintiff has the burden of persuading the court “that
 2    exceptional circumstances justify a departure from the basic policy of postponing
 3    appellate review until after the entry of a final judgment.” Coopers & Lybrand v.
 4    Livesay, 437 U.S. 463, 475 (1978). The Court finds that Plaintiff has not met this high
 5    burden. Plaintiff can continue litigating the ADA claim in federal court while
 6    simultaneously litigating the Unruh Act claim in California state court.
 7

 8    IV. CONCLUSION
 9

10          For the foregoing reasons, the Court declines to exercise supplemental jurisdiction
11    over Plaintiff’s Unruh Act claim. This claim is hereby DISMISSED WITHOUT
12    PREJUDICE to Plaintiff asserting it in state court. The Court retains jurisdiction over
13    Plaintiff’s ADA claim.
14

15          DATED:       December 17, 2019
16

17                                                 __________________________________
18                                                        CORMAC J. CARNEY
19                                                 UNITED STATES DISTRICT JUDGE
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